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                                                                 1   MICHAEL D. DAVIDSON, ESQ.
                                                                     Nevada Bar No. 000878
                                                                 2   MATTHEW T. DUSHOFF, ESQ.
                                                                     Nevada Bar No. 004975
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                                                                 7   Attorneys for Defendants

                                                                 8                                  UNITED STATES DISTRICT COURT
                                                                 9                                           DISTRICT OF NEVADA
                                                                10                                                    ***
                                                                11   PAUL THOMPSON,                                               CASE NO. 2:18-cv-01863-GMN-VCF
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                                                                12                              Plaintiff,
                                                                                                                                     JOINT STATUS REPORT OF
                            Las Vegas, Nevada 89145




                                                                13              vs.                                                PLAINTIFFS AND DEFENDANTS
                                                                                                                                  PURSUANT TO COURT’S MINUTE
                                                                14   TREASURE COAST BULLION GROUP,                                      ORDER (ECF NO. 2)
                                                                     INC., WORTH GROUP, INC., MATTHEW
                                                                15   JOHN KEHOE and DOES 1-10 and ROES 1-
                                                                     10, inclusively,
                                                                16
                                                                                                Defendants.
                                                                17

                                                                18             Pursuant to this Court’s Minute Order on September 25, 2018 (D.I. 2), Defendants,
                                                                19   TREASURE COAST BULLION GROUP, INC.; WORTH GROUP, INC.; and MATTHEW
                                                                20   JOHN KEHOE (Collectively, the “Defendants”), and Plaintiff, PAUL THOMPSON,
                                                                21   (“Plaintiff”) submit this Joint Status Report regarding the information requested in the Court’s
                                                                22   Minute Order.
                                                                23             1.        Statement on the Status of the Action.
                                                                24                       a.     Service of Complaint and Removal of Action.
                                                                25             On September 7, 2018, Defendant Treasure Coast Bullion Group, Inc. and Defendant
                                                                26   Worth Group, Inc. were served with a copy of the complaint and summons thereon filed in Clark
                                                                27   County, Nevada. On September 12, 2018, Defendant, Matthew John Kehoe was served with a
                                                                28   copy of the complaint and summons thereon filed in Clark County, Nevada. There are no other

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                                                                 1   named defendants thus far in the lawsuit; the remaining defendants are either unnamed Doe

                                                                 2   individuals or business entities, none of whom have been identified or served.

                                                                 3             On September 25, 2018, Defendants filed their Notice of Removal. (Dkt. 1) On October

                                                                 4   3, 2018, Defendants filed their Joint Statement Regarding Removal of Action. (Dkt. 6)

                                                                 5                       b.     Pending Rule 12 Motions.
                                                                 6             On October 2, 2018, Defendants filed a motion to dismiss Paul Thompson’s Complaint,

                                                                 7   or Alternatively to Compel Arbitration. (Dkt. 5). On October 9, 2018, Plaintiff and Defendants

                                                                 8   entered into a stipulation to submit the entire action to final and binding arbitration, as well as for

                                                                 9   the District Court to retain jurisdiction and stay the matter while the matter was resolved (Dkt.

                                                                10   8). This Court executed the order on the stipulation on October 19, 2018 (Dkt.9).

                                                                11                       c.     Answers to the Complaint and Counterclaims.
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                      400 S. Rampart Boulevard, Suite 400




                                                                12             There has been no answer filed on this case. Defendants have stipulated to arbitrate.
                            Las Vegas, Nevada 89145




                                                                13                       d.     Removal Notice.
                                                                14             The parties stipulated that the District Court retain jurisdiction and stay the matter while

                                                                15   the matter is resolved. Therefore, Plaintiff will not be filing an opposition to Defendants’ notice

                                                                16   of removal from the State Court.

                                                                17             2.        Action To Be Taken by this Court.
                                                                18             Given that the parties have stipulated to stay this action and to refer the entire action for

                                                                19   binding arbitration, the actions to be taken by the Court at this time are as follows:

                                                                20                      No further action is necessary during pendency of binding arbitration.
                                                                21             DATED this 24th day of October, 2018.

                                                                22                                                        KOLESAR & LEATHAM
                                                                23
                                                                                                                       By /s/ Michael D. Davidson, Esq.
                                                                24                                                        MICHAEL D. DAVIDSON, ESQ.
                                                                                                                          Nevada Bar No. 000878
                                                                25                                                        MATTHEW T. DUSHOFF, ESQ.
                                                                                                                          Nevada Bar No. 004975
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                                                                                                                          Las Vegas, Nevada 89145
                                                                27
                                                                                                                          Attorneys for Defendants
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                                                                 1                       CONSENT TO JOINDER AND REMOVAL STATEMENT
                                                                 2             The undersigned certifies that Plaintiff, Paul Thompson, hereby consents to and joins in

                                                                 3   the above Joint Status Report, as requested by this Court. (ECF NO. 2.)

                                                                 4             DATED this 24th day of October, 2018.

                                                                 5                                                     THE LAW OFFICES OF DAVID LIEBRADER, INC.
                                                                 6
                                                                                                                   By /s/ David Liebrader, Esq.
                                                                 7                                                    DAVID LIEBRADER, ESQ.
                                                                                                                      Nevada Bar No. 5048
                                                                 8                                                    601 S. Rancho Dr., Ste D-29
                                                                                                                      Las Vegas, NV 89106
                                                                 9
                                                                                                                       Attorneys for Plaintiff
                                                                10                                                     Paul Thompson

                                                                11
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                            Las Vegas, Nevada 89145




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                                                                 1                                     CERTIFICATE OF SERVICE
                                                                 2             I hereby certify that I am an employee of Kolesar & Leatham, and that on the 24th day of

                                                                 3   October, 2018, I caused to be served a true and correct copy of foregoing JOINT STATUS
                                                                 4   REPORT OF PLAINTIFFS AND DEFENDANTS PURSUANT TO COURT’S MINUTE
                                                                 5   ORDER (ECF NO. 2) in the following manner:
                                                                 6             (ELECTRONIC SERVICE) Pursuant to Rule 5-4 of the Local Rules of Civil Practice of

                                                                 7   the United States District Court for the District of Nevada, the above-referenced document was

                                                                 8   electronically filed on the date hereof and served through the Notice of Electronic Filing

                                                                 9   automatically generated by that Court’s facilities.

                                                                10
                                                                                                                           /s/ Kristina R. Cole
                                                                11                                                         An Employee of KOLESAR & LEATHAM
                    TEL: (702) 362-7800 / FAX: (702) 362-9472
KOLESAR & LEATHAM
                      400 S. Rampart Boulevard, Suite 400




                                                                12
                            Las Vegas, Nevada 89145




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